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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 LEWANA HOWARD,                                    )
                                                   )
                                Plaintiff,         )
                                                       No.      18 C 4454
                                                   )
                                                       Judge
                         v.                        )
                                                   )
                                                       Formerly Case No. 18 M6 3948
 LAURA DOUGLAS,                                    )
                                                       Circuit Court of Cook County, Illinois
                                                   )
                                Defendant.         )

                   NOTICE OF REMOVAL OF A CIVIL ACTION AND
                SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:        Dorothy Brown                               Lewana Howard
             Clerk of the Circuit Court                  7303 S. Marshfield Avenue
             Richard J. Daley Center, Room 1001          Chicago, Illinois 60636
             50 West Washington Street                   lewana@sbcglobal.net
             Chicago, Illinois 60602

             Carl M. Schultz
             Malecki & Brooks Law Group LLC
             205 E. Butterfield Road, Suite 225
             Elmhurst, Illinois 60126

        The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

        1.       Pro se plaintiff Lewana Howard commenced the above civil action against Dr.

Laura Douglas, alleging that Dr. Douglas, an employee of the Chicago Family Health Center, Inc.

(“Chicago Family Health Center”), was negligent in providing dental care. A copy of the state

court complaint is attached as Exhibit A. For purposes of this lawsuit, the Chicago Family Health

Center is a private entity that receives grant money from the Public Health Service pursuant to 42
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U.S.C. § 233. See Exhibit B. In addition, Dr. Douglas was acting within the scope of her

employment at the Chicago Family Health Center with respect to the incidents referred to in the

complaint. Id.

       2.        This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that the Chicago Family

Health Center was a private entity receiving grant money from the Public Health Service and that

defendant Dr. Douglas was acting within the scope of her employment at the Chicago Family

Health Center with respect to the incidents referred to in the complaint. Exhibit B.

       3.        This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.        Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant Dr. Laura Douglas.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Dr. Laura Douglas.

                                               Respectfully submitted,

                                               JOHN R. LAUSCH, Jr.
                                               United States Attorney

                                               By: s/ Virginia O. Hancock
                                                  VIRGINIA O. HANCOCK
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                                      Certificate of Service

       The undersigned Assistant United States Attorney hereby certifies that in accordance with

Fed. R. Civ. P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF), the following

document:

         NOTICE OF REMOVAL OF A CIVIL ACTION AND SUBSTITUTION OF THE
         UNITED STATES AS DEFENDANT

was served pursuant to the district court’s ECF system as to ECF filers, if any, and was sent by

first-class mail on June 26, 2018, to the following non-ECF filers:

       Lewana Howard
       7303 S. Marshfield Avenue
       Chicago, Illinois 60636
       lewana@sbcglobal.net

       Dorothy Brown
       Clerk of the Circuit Court
       Richard J. Daley Center, Room 1001
       50 West Washington Street
       Chicago, Illinois 60602

       Carl M. Schultz
       Malecki & Brooks Law Group LLC
       205 E. Butterfield Road, Suite 225
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                                                      s/ Virginia O. Hancock
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